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13

14                                UNITED STATES DISTRICT COURT
15
                                         DISTRICT OF NEVADA
16

17
     KONECRANES GLOBAL CORPORATION,                     Case No. 2:18-cv-02015-GMN-NJK
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19                              Plaintiff,
                                                        STIPULATION AND ORDER FOR
20                              v.                      MODIFICATION OF SCHEDULE ON
                                                        CLAIM CONSTRUCTION HEARING
21   MODE TECH (BEIJING) CO., LTD.,                     MATTERS (ECF NOS. 124, 125).

22                                                      (Sixth Request)
                                Defendant.
23

24
            Pursuant to LR IA 6-1 and LPR 1-3, Plaintiff Konecranes Global Corporation
25
     (“Konecranes”) and Defendant Mode Tech (Beijing) Co., Ltd. (“Mode Tech” and together, the
26
     “Parties”) believe that there is agreement to a settlement-in-principle between the parties and
27
     respectfully ask the Court to postpone the upcoming technology tutorial and Markman hearing
28
     (including the associated deadline for filing exhibits) (ECF 124, 125) to negotiate the details and
     Case 2:18-cv-02015-GMN-NJK Document 130 Filed 10/27/20 Page 2 of 3



 1   finalize an agreement. The parties believe that an approximate three-week postponement will
 2   be sufficient to work out the agreement.

 3          Specifically, the following hearing dates and deadlines are requested to be postponed:

 4                   October 26, 2020 deadline to file exhibits intended for use at hearing (ECF 125)
 5                   October 29, 2020 patent technology tutorial (ECF 124, 125); and
 6                   November 5, 2020 Claim Construction Hearing (ECF 124, 125).
 7          In keeping with the Court’s prior Order (ECF No. 112) to file notice of available dates

 8   with the Court, the Parties agree to jointly file a notice with the Court on Tuesday,
 9   November 10, 2020 with the status of the settlement agreement along with at least three
10   proposed dates for continuing the hearings in the event that a settlement has not already been

11   finalized.

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 1   DATED: October 20, 2020.

 2   M C D ONALD C ARANO LLP                         F OLEY & O AKES , PC
 3

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14

15                                                   Attorneys for Defendant
                                                     Mode Tech (Beijing) Co., Ltd.
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                                                 IT IS SO ORDERED nunc pro tunc.
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19
                                                 IT IS FURTHER ORDERED that the
20                                               Motion to Extend Time, (ECF No.
                                                 129), is DENIED as moot.
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22                                               Dated this ____
                                                             27 day of October, 2020.

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                                                 ___________________________
26                                               Gloria M. Navarro, District Judge
                                                 UNITED STATES DISTRICT COURT
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